Case 2:05-cr-20174-SH|\/| Document$ Filed 08/09/05 Pagelon Page|D 2
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UNITED sTA'rEs DISTRICT COURT "“ " "‘“""“‘
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Western Division

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UNITED STATES OF AMERICA _ @L:§§? ` CQ\}RT
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-vs- Case No. 2:05cr20174-Ma

PATRICK ALEXANDER

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE AC'I`

This Court has determined that the above~named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT
DONE and ORDERED in 167 North Main, Mernphis, this q day of August,

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TI`J M. PHAM
UNITED STATES MAGISTRATE IUDGE

2005.

Copies fumished to:

United States Attomey

United States Marshal

Pretrial Services Ofiice

Assistant Federal Public Defender
Intake

PATRICK ALEXANDER

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20174 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Frederick H. GodWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

